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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7                                 FRESNO DIVISION

 8
                                                        Civil Action No.:
 9     LOREN PALSGAARD, ET AL.,
                                                    1:23-cv-01228-ADA-CDB
10                   Plaintiffs,
             v.
11
                                                 PLAINTIFFS’ CONSOLIDATED
12     SONYA CHRISTIAN, ET AL.,                    BRIEF IN OPPOSITION TO
                                                        DEFENDANTS’
13                   Defendants.                    MOTIONS TO DISMISS

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 1
              Under Judge Alba’s Standing Order 1.c. and Magistrate Judge Baker’s order, (ECF No. 46),
 2
      Plaintiffs Loren Palsgaard, James Druley, Michael Stannard, David Richardson, Bill Blanken, and
 3
      Linda de Morales respectfully submit this consolidated brief in opposition to the State Defendants’
 4
      motion to dismiss (Dist. Mot. ) (ECF No. 42) and the District Defendants’ motion to dismiss (State
 5
      Mot.) (ECF No.43).1
 6
                                                INTRODUCTION
 7
              Plaintiffs, six tenured community college professors in the State Center Community College
 8
      District, strive to make their classrooms places where their students “remain free to inquire, to study
 9
      and to evaluate, to gain new maturity and understanding.” Sweezy v. New Hampshire, 354 U.S. 234,
10
      250 (1957). But California Community Colleges’ new diversity, equity, inclusion, and accessibility
11
      rules (DEIA Rules) and State Center Community College’s Faculty Contract, which implements
12
      the DEIA Rules, shut down classroom discussion by forcing Plaintiffs to teach and preach the
13
      state’s views on controversial DEIA topics. For instance, Plaintiffs are required to advocate for
14
      race-conscious remedies to overcome systemic racism and endorse the idea that “merit” “protect[s]
15
      White Privilege under the guise of standards.” Verif. Compl. Exs. B, D.
16
              Under the Faculty Contract, Plaintiffs are evaluated regularly for their devotion to these
17
      State mandated DEIA principles and how they have “put those principles into practice” in the
18
      classroom. That means if they want a promotion (or to keep their jobs), they must parrot the
19
      government’s position on DEIA in the classroom.
20
              Defendants assert the DEIA Rules and Faculty Contract are just “aspirational” statements
21
      and Plaintiffs are not forced into anything. State Mot. at 15. But the text of the DEIA Rules and
22
      Faculty Contract, along with the DEIA Rules’ Implementation Guidelines, tell a different story.
23
      The DEIA Rules, as clarified by the Implementation Guidelines and enforced by the Faculty
24
      Contract, make crystal clear that community college professors must “acknowledge,” “promote,”
25
      “incorporate,” “advocate for,” and “advance” DEIA principles. Verif. Compl. Exs. B, D. These
26
27        1
            The State Defendants are officials in the California Community Colleges and the District Defendants
28    are officials in the State Center Community College District.


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 1
      DEIA principles must be “weav[ed] . . . into every course.” Id.
 2
             The DEIA Rules also warn faculty against “weaponizing academic freedom” to “inflict
 3
      curricular trauma” on students by teaching concepts or assigning readings inconsistent with the
 4
      State’s mandated DEIA viewpoints. The government uses this vague and threatening language to
 5
      turn routine educational practices, like assigning arguably controversial readings, like Martin
 6
      Luther King Jr.’s Letter from Birmingham Jail, into grounds for discipline. The DEIA Rules and
 7
      Faculty Contract trample on the clearly established First Amendment rights of faculty concerning
 8
      “speech related to scholarship or teaching.” Demers v. Austin, 746 F.3d 402, 406 (9th Cir. 2014)
 9
      (internal citations omitted).
10
             The State and District Defendants try to avoid responsibility for the DEIA Rules and the
11
      Faculty Contract by advancing a hodgepodge of procedural and jurisdictional objections. These
12
      arguments lack merit and rest on a fundamental misreading of what the DEIA Rules and Faculty
13
      Contract require. In short, the State Defendants blame the District and the District Defendants
14
      blame the State. In fact, both sets of Defendants are violating Plaintiffs’ First Amendment rights,
15
      and this Court has jurisdiction over all of Plaintiffs’ claims.
16
             Likewise, Plaintiffs did not waive their First Amendment rights through the adoption of the
17
      Faculty Contract. Their First Amendment rights are fundamental and cannot be waived through
18
      collective bargaining. And waiver was also not possible in this case because any concession of
19
      Plaintiffs’ rights would have been neither clear and unmistakable nor voluntary and knowing.
20
             Plaintiffs sufficiently allege that the DEIA Rules and Faculty Contract discriminate against
21
      Plaintiffs’ speech based on its viewpoint, compel Plaintiffs to endorse the State’s preferred DEIA
22
      message, impose a prior restraint on employee speech, and are unconstitutionally overbroad and
23
      vague. Therefore, each of the Plaintiffs’ claims should proceed.
24
                                          STATEMENT OF FACTS
25
      California Community Colleges Adopt the DEIA Rules and Implementation Guidelines.
26
             In April 2023, the California Community Colleges Board of Governors approved new rules
27
      requiring the use of DEIA standards in evaluating performance and reviewing tenure of faculty.
28

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 1
      Verif. Compl. ¶¶ 39–57. The Rules required each community college district to conform its policies
 2
      and procedures to the requirements in the rules by October 2023, id. ¶ 47, though some districts
 3
      like State Center did so earlier than required. Id. ¶ 82.
 4
             The DEIA Rules “make DEIA-focused competencies and criteria a minimum standard and
 5
      a system-wide requirement.” Verif. Compl. Ex. A § 53601(a)–(b); Verif. Compl. Ex. C. All faculty
 6
      must demonstrate proficiency in “DEIA competencies” and “employ teaching, learning, and
 7
      professional practices that reflect DEIA and anti-racist principles” as conditions of employment.
 8
      Verif. Compl. Ex. A §§ 53602(b), 53605(a). Districts must “significant[ly] emphasi[ze]” DEIA in
 9
      employee evaluations and tenure reviews. Id. § 53602(c)(4).
10
             The Chancellor’s Office published four guidance documents local districts and colleges
11
      must use when implementing the DEIA Rules. These Implementation Guidelines include a list of
12
      DEIA Competencies and Criteria, a statement of Model Principles on the implementation of DEIA
13
      in the classroom, a Glossary defining key DEIA terms, and a memorandum transmitting the DEIA
14
      Rules and the Competencies and Criteria (and directing attention to the Glossary) to the districts.
15
      Verif. Compl. Exs. B–E. Districts must use these Implementation Guidelines in setting DEIA
16
      requirements for faculty. Verif. Compl. Ex. A § 53601(b).
17
             The first guidance document lists the DEIA competencies and criteria expected of all
18
      employees. Verif. Compl. Ex. B. The Competencies and Criteria “define the skills, knowledge, and
19
      behaviors that all California Community College . . . employees must demonstrate.” Id. According
20
      to the Competencies and Criteria, faculty must endorse the State’s DEIA viewpoint. Id. They must
21
      “[a]cknowledge[]” the “diverse, fluid, and intersectional nature” of identity. Id. They must
22
      “[d]emonstrate” their “ongoing awareness and recognition” of “structures of oppression and
23
      marginalization.” Id. They must “[s]eek[] DEI and anti-racist perspectives” and continually
24
      improve their “own commitment to DEI and internal biases.” Id. Likewise they must “[p]romote[]”
25
      and “incorporate[]” a “DEI and anti-racist pedagogy” and a race-conscious and intersectional lens”
26
      into their teaching. Id. And the requirements of the Competencies and Criteria do not end when
27
      faculty leave the classroom. They are expected to “advocate[] for and advance[] DEI and anti-racist
28

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 1
      goals and initiatives” by “participating in DEI groups, committees, or community activities that
 2
      promote systemic and cultural change to close equity gaps and support minoritized groups.” Id.
 3
             Second, a Model Principles and Practices document establishes curricular priorities and
 4
      what implementation of the DEIA Rules looks like in practice. Verif. Compl. ¶ 65, Ex. D. The
 5
      Model Principles affect many aspects of teaching, including the curricula professors select and the
 6
      language used when teaching. Indeed, faculty are expected to supplement their course material with
 7
      DEIA materials to ensure that “equity frameworks and principles in decision-making are prioritized
 8
      and addressed.” Verif. Compl. Ex. D. Professors must also “[r]eword language from a colonized
 9
      mindset to an equity mindset”—for example, by using the term “enslaved” rather than “slaves.” Id.
10
      Faculty are ordered to “[s]hift to a collectivism perspective” rather than an “individualist
11
      perspective,” and to “[w]eave DEI and culturally responsive practice into every course.” Id. Every
12
      discipline and subject must “[u]se culturally responsive practices and a social justice lens.” Id. The
13
      Model Principles likewise tell faculty what they are not allowed to say, warning them not to
14
      “‘weaponize’ academic freedom and academic integrity as tools to impede equity” or “inflict
15
      curricular trauma on our students” by voicing opinions or assigning materials contradicting the
16
      perspectives mandated by the DEIA Rules. Id.
17
             Third, California Community Colleges provides a Glossary of Terms defining DEIA terms
18
      and viewpoints Professors are expected to embrace. Verif. Compl. Ex. E. For instance, the Glossary
19
      defines “color blindness” as a “racial ideology” which “perpetuates existing racial inequalities and
20
      denies systematic racism.” Id. Plaintiffs believe merit-based, color-blind policies are the best way
21
      to resolve racial inequalities ensure neutrality and overcome society’s legacy of racism. Verif.
22
      Compl. ¶¶ 30, 103, 163. But the Glossary denounces the concept of “merit” as “protect[ing] White
23
      Privilege under the guise of standards.” Id. Verif. Compl. Ex. E.
24
             Finally, the Chancellor’s Office sent out a May 2023 memorandum to the districts
25
      introducing the DEIA Rules. Verif. Compl. Ex. C. This memorandum specifically refers to the
26
      Criteria and Competencies as setting out the “competencies and criteria for employee evaluations
27
      and tenure review processes” and includes it as an attachment. The memorandum also urges the
28

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 1
      districts to refer to the Glossary for help “understanding” the DEIA Rules. Id. The State Chancellor
 2
      included a link to the Glossary in its May 2023 memorandum to districts, directing them to the
 3
      Glossary to “understand[]” the DEIA Rules. Verif. Compl. Ex. C.
 4
      State Center Incorporates and Enforces the DEIA Rules through the Faculty Contract.
 5
             In January 2023, State Center adopted a new Full-Time Faculty Agreement (Faculty
 6
      Contract) with the labor union representing State Center faculty. The Faculty Contract ratifies and
 7
      imposes the DEIA Rules as clarified by the Implementation Guidelines. Id. ¶¶ 82–83.
 8
             The following graphic shows the relationship between the DEIA Rules, the Implementation
 9
      Guidelines, and the Faculty Contract:
10
11
12
13
14
15
16
17
18
19
20
21
22           Under the Faculty Contract, faculty are evaluated on their “demonstration of, or progress
23    toward, diversity, equity, inclusion, and accessibility (DEIA) related competencies and teaching
24    and learning practices that reflect DEIA and anti-racist principles.” Verif. Compl. Ex. F at 36–37.
25    Faculty must also demonstrate “knowledge of the intersectionality of social identities” and
26    “recognize the myriad of ways in which people differ, including the psychological, physical,
27    cognitive, and social difference that occur among individuals.” Id. at 37.
28

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 1
             Tenured faculty receive performance evaluations every three years. Id. at 29. As part of the
 2
      evaluation process, faculty members must submit self-evaluations “demonstrat[ing] an
 3
      understanding of diversity, equity, inclusion and accessibility (DEIA) competencies and anti-racist
 4
      principles, and how they have put those principles into practice to improve equitable student
 5
      outcomes and course completion.” Id. at 35.
 6
             If a tenured professor’s DEIA performance is inadequate, the professor can be placed on a
 7
      “plan for improvement” with limited time to correct the deficiency, denied advancement to a new
 8
      salary class, or even fired. Verif. Compl. ¶¶ 90–95.
 9
      The DEIA Rules and Faculty Contract Force Plaintiffs to Alter Their Protected Speech.
10
             Plaintiffs Loren Palsgaard, James Druley, Michael Stannard, David Richardson, Bill
11
      Blanken, and Linda de Morales are tenured professors at colleges in State Center. Verif. Compl.
12
      ¶ 24. Plaintiffs are opposed to concepts like “anti-racism,” (advocacy for race-conscious remedies
13
      to overcome systemic racism), “intersectionality,” and other ideas and viewpoints the DEIA Rules
14
      and Faculty Contract require them to endorse. Each Plaintiff objects to endorsing the mandatory
15
      DEIA views and would not, but for these requirements, espouse them in the classroom. Each has
16
      either had to change their classroom approach as a result of the DEIA Rules and Faculty Contract
17
      or fears that they will be penalized for refusing to do so.
18
             Loren Palsgaard is an English instructor at Madera Community College. Id. ¶ 115. He
19
      teaches students to discuss and debate controversial topics while observing mutual respect. Before
20
      the DEIA Rules took effect, he assigned challenging readings like Martin Luther King, Jr.’s Letter
21
      from Birmingham Jail, and Victor Davis Hanson’s Mexifornia. Id. ¶ 118. But he no longer assigns
22
      these materials because of the DEIA Rules, including the prohibition against “weaponize[ing]
23
      academic freedom” and “inflict[ing] curricular trauma.” Id. ¶¶ 118–19. Similarly, Palsgaard must
24
      now second-guess his long-running practice of showing videos of recorded debates highlighting
25
      opposing views on the death penalty and drug legalization. Id. ¶ 120. As a result of the DEIA Rules,
26
      he reasonably fears that assigning these videos will result in him being accused of failing to
27
      “promote[] a race-conscious and intersectional lens” and not being adequately “culturally
28

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 1
      affirming.” Id.
 2
             James Druley is a philosophy instructor at Madera Community College. Id. ¶ 98. Despite
 3
      his disagreement with the State’s DEIA views, the DEIA Rules require him to incorporate those
 4
      views into his curriculum and the official syllabi of the courses that he teaches. Id. ¶ 100. Druley
 5
      discusses race and racism in several of his classes and wants to teach his students to reason for
 6
      themselves and critically consider contested DEIA views. Id. ¶ 109. Druley worries that if he were
 7
      to do so now, he would fail to sufficiently demonstrate “culturally responsive practices and a social
 8
      justice lens.” Id. ¶ 102. Therefore, Druley is avoiding voicing his opinions on DEIA issues in class.
 9
      Id. ¶ 108. Instead, he is using vague and indeterminate language and has stopped assigning course
10
      material which generates debate on race and DEIA questions because he is afraid of violating the
11
      DEIA Rules and the Faculty Contract. Id. ¶¶ 25, 108.
12
             Druley also wants to assign writings by Malcom X, Martin Luther King, Jr., Frederick
13
      Douglass, and W.E.B. DuBois. But Druley is chilled from doing so by the DEIA Rules out of a
14
      reasonable fear that these readings will make him insufficiently “anti-racist” and accused of
15
      “advanc[ing] academic freedom” and “inflict[ing] curricular trauma” on students. Id. ¶¶ 107–109.
16
      Druley also teaches that “merit” is indispensable. But because the DEIA Rules now codify merit as
17
      “protect[ing] White Privilege under the guise of standards,” continuing to do so (as he intends to
18
      do) puts him at risk of discipline and termination. Id. ¶ 103. Before the DEIA Rules went into effect
19
      Druley also signed a “Pro-Human Pledge” by a civil-rights organization advocating against “DEI
20
      and anti-racist goals and initiatives,” and in so doing, committed to “treat everyone equally without
21
      regard to skin color or immutable characteristic.” Id. ¶ 105. But now he must either abandon his
22
      pledge or face punishment for violating the DEIA Rules’ mandate that he adopt a “race-conscious”
23
      viewpoint. Id. ¶¶ 105–06.
24
             Michael Stannard is a philosophy instructor at Clovis Community College. Stannard’s
25
      classes involve discussion of controversial topics such as race, abortion, and LGBT rights. Id. ¶ 127.
26
      Stannard tells students they can speak freely in his classes as long as they are making an argument
27
      and do not resort to name-calling. Id. ¶ 128. He encourages his students to engage in vigorous
28

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 1
      discussion. Id. Stannard refuses to speak to people differently based on their race or ethnicity
 2
      because he believes it is patronizing, offensive, and isolates students based on race or ethnicity. Id
 3
      ¶ 129. But now Stannard worries he will be accused of failing to use “culturally affirming
 4
      language.” Id. Like Palsgaard, Stannard assigns Martin Luther King, Jr.’s Letter from Birmingham
 5
      Jail. Id. ¶ 132. He also assigns an article arguing against the elimination of standardized testing to
 6
      eliminate racial disparities. Id. ¶ 131. The DEIA Rules chill his speech and pressure Stannard to
 7
      not assign these readings. Id. ¶ 132. But Stannard is ultimately unwilling to change his teaching
 8
      approach because of the DEIA Rules and Faculty Contract. Id. ¶ 130. His professional future is
 9
      therefore in jeopardy because he continues to assign these materials even though they offer
10
      perspectives that cut against the “race-conscious,” “anti-racist,” and “intersectional” lens the DEIA
11
      Rules and Faculty Contract mandate. Id. ¶¶ 131–32. Stannard is up for review in the Spring 2024
12
      semester. Id. ¶ 135.
13
             David Richardson is a history instructor at Madera Community College. Id. ¶ 139.
14
      Richardson’s classes include discussions about discrimination, the civil-rights movement, and
15
      slavery. Id. ¶ 141. Richardson encourages debates about controversial ideas but is now afraid to do
16
      so due to the DEIA Rules. Id. ¶ 142. For instance, he has asked students to contrast the views of
17
      Booker T. Washington and W.E.B. Dubois and of Martin Luther King and Malcom X. Id. ¶ 143.
18
      But Richardson fears that by assigning different views about the role of race, he will be accused of
19
      “weaponiz[ing] academic freedom” and “inflict[ing] curricular trauma” on his students. Id.
20
      Richardson is likewise afraid to teach controversial facts, like the existence of black plantation
21
      owners and slaveholders in the American Antebellum South. Richardson is concerned these facts
22
      are not “culturally-affirming” and run contrary to the “race-conscious and intersectional lens”
23
      required by the DEIA Rules. Id. ¶ 144.
24
             Bill Blanken is a chemistry professor at Reedley College. Id. ¶ 150. Blanken emphasizes to
25
      his students he will treat them equally and will reward those who work hard regardless of their skin
26
      color. Id. ¶ 151. In Blanken’s pedagogical and professional judgment, DEIA principles do not have
27
      a place in a chemistry course because they are irrelevant. Id. ¶ 152. Blanken refuses to include
28

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 1
      DEIA material because it would necessarily take up time otherwise spent studying chemistry. Id.
 2
      ¶¶ 152, 156. Blanken teaches about the history of chemistry and the great scientists who advanced
 3
      the field, such as Marie Curie and Robert Boyle. Id. ¶ 153. Because he focuses on the scientists that
 4
      have made the greatest impact on the study of chemistry, regardless of ethnicity or country of origin,
 5
      he fears that if he continues to teach an accurate history, he will be accused of failing to adopt
 6
      “culturally responsive practices and a social justice lens.” Id. Blanken is up for review in the Spring
 7
      2024 semester. Id. ¶ 155.
 8
             Linda de Morales is a chemistry professor at Madera Community College. Id. ¶ 161. Like
 9
      Blanken, de Morales believes teaching DEIA material in her chemistry courses is pedagogically
10
      inappropriate. Id. ¶ 162. And she does not plan to alter the teaching of the history of chemistry to
11
      focus on the race or ethnicity of scientists. Id. De Morales tells her students that if they want to
12
      receive a good grade, they need to earn it. Id. ¶ 163. But de Morales is now concerned that by
13
      emphasizing the importance of “merit,” she will be accused of “protect[ing] White Privilege under
14
      the guise of standards.” Id. De Morales has also shown the inspirational film Hidden Figures to her
15
      class but is now chilled from doing so because the film has been accused of “whitewashing” by
16
      including a “white savior” figure and therefore it may not be seen as sufficiently “anti-racist” in
17
      violation of the DEIA Rules. Id. ¶ 165.
18
      Plaintiffs Sue and Move for a Preliminary Injunction.
19
             On August 17, 2023, Plaintiffs filed a Verified Complaint seeking declaratory judgment and
20
      preliminary and permanent injunctive relief. (ECF No. 1). Plaintiffs brought five claims against the
21
      State Defendants concerning the DEIA Rules (including the Implementation Guidelines) and five
22
      parallel claims against the District Defendants for imposing the DEIA Rules (including the
23
      Implementation Guidelines) through the Faculty Contract. Plaintiffs argue the DEIA Rules:
24
      (1) mandate and prohibit speech based on viewpoint (Count I & II); (2) unconstitutionally compel
25
      speech (Counts III & IV); (3) impose an unlawful prior restraint (Counts V & VI); (4) are
26
      impermissibly overbroad (Counts VII & VIII); and (5) are unconstitutionally vague (Counts IX and
27
      X). On August 23, 2023, Plaintiffs moved for preliminary injunction. (ECF No. 13). Their motion
28

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 1
      remains fully briefed and pending before the Court. Both sets of Defendants moved to dismiss
 2
      Plaintiffs’ Verified Complaint on December 15, 2023 (ECF No. 42, 43).
 3
      Judge Baker’s Findings and Recommendation in the Related Case of Johnson v. Watkin.
 4
             Daymon Johnson, a professor in the Bakersfield Community College District, also brought
 5
      a challenge to the DEIA Rules. Johnson v. Watkin, Case No. 1:23-cv-00848 (E.D. Ca.). Johnson
 6
      moved for a preliminary injunction. Id. ECF No 26. The State Defendants moved to dismiss
 7
      Johnson’s complaint making very similar arguments to the ones made here. Id. ECF No. 42. On
 8
      November 14, 2023, Magistrate Judge Baker issued his Findings and Recommendation to grant in
 9
      part the motion for preliminary injunction and deny the motions to dismiss. Id. ECF No. 70.
10
      (Johnson Mag. Rec.).
11
                                                 ARGUMENT
12
             After refuting Defendants’ jurisdictional arguments in Section I, Plaintiffs address the
13
      issue of Waiver in Section II. Finally, Plaintiffs show that each of their claims is sufficiently pled
14
      in Section III.
15    I.      PLAINTIFFS HAVE STANDING TO CHALLENGE THE DEIA RULES AND FACULTY
              CONTRACT.
16
             Plaintiffs have standing to challenge the DEIA Rules and their case should not be dismissed
17
      under Rule 12(b)(1). A jurisdictional challenge can either be facial or factual. Leite v. Crane Co.,
18
      749 F.3d 1117, 1121 (9th Cir. 2014) (explaining the differences between the two types of
19
      jurisdictional challenges). State Defendants do not explain whether they are making a facial or
20
      factual challenge while the District Defendants do not even mention Rule 12(b)(1) or explain the
21
      proper standard of review. Defendants’ jurisdictional arguments largely hinge on whether
22
      Plaintiffs’ Verified Complaint is legally sufficient on its face to establish jurisdiction. The Court
23
      must therefore “[a]ccept[] the plaintiff’s allegations as true and draw[] all reasonable inferences in
24
      the plaintiff’s favor.” Id. (citation omitted). In addressing this facial challenge, the Court may not
25
      go beyond the four corners of the complaint and must “presume that general allegations embrace
26
      those specific facts that are necessary to support the claim.” Lujan v. Nat'l Wildlife Fed'n, 497 U.S.
27
      871, 889 (1990); Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (citation
28

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 1
      omitted). To the extent the Court determines Defendants do make factual allegations regarding
 2
      jurisdiction, it may consider “extrinsic evidence,” but it may not “decide genuinely disputed facts.”
 3
      Dalfio v. Orlansky-Wax, LLC, No. 21-56339, 2022 WL 3083323, at *1 (9th Cir. 2022).
 4
               Plaintiffs sufficiently allege each element of Article III standing. “[T]he ‘irreducible
 5
      constitutional minimum of standing’ requires a plaintiff to have suffered an injury in fact, caused
 6
      by the defendant’s conduct, that can be redressed by a favorable result.” Tingley v. Ferguson, 47
 7
      F.4th 1055, 1066 (9th Cir. 2022) (quoting Lujan, 504 U.S. at 560–61). When assessing First
 8
      Amendment claims, there are “unique standing considerations such that the inquiry tilts
 9
      dramatically toward a finding of standing” because “a chilling of the exercise of First Amendment
10
      rights is, itself, a constitutionally sufficient injury.” Libertarian Party of L.A. Cnty. v. Bowen, 709
11
      F.3d 867, 870 (9th Cir. 2013) (citations and quotation marks omitted).
12
               Plaintiffs are suffering “concrete and particularized” First Amendment injuries “fairly
13
      traceable” to both sets of defendants. Lujan, 504 U.S. at 560. Both the State Defendants’ enactment
14
      of the DEIA Rules and to the District Defendants’ implementation of the DEIA Rules through the
15
      Faculty Contract are the cause of Plaintiffs’ injuries. And Defendants do not contest the declaratory
16
      judgment and injunction Plaintiffs seek would satisfy the “relatively modest” requirement of
17
      “redressability” and remedy their alleged injuries. M.S. v. Brown, 902 F.3d 1076, 1083 (9th Cir.
18
      2018).
19
               Plaintiffs also bring a timely challenge against the DEIA Rules and Faculty Contract
20
      because they face a “credible threat” that the DEIA Rules and Faculty Contract will be enforced
21
      against them. Speech First, Inc. v. Fenves, 979 F.3d 319, 335 (5th Cir. 2020). See Infra Section I.C.
22
               A.     Plaintiffs Are Suffering a Constitutionally Cognizable Injury.
23
               The State Defendants incorrectly claim the DEIA Rules merely set out “aspirational”
24
      government speech, State Mot. at 15, or that they only govern “how a faculty member teaches, not
25
      what they teach.” Dist. Mot. at 24. As Magistrate Judge Baker explained, the “characterization of
26
      the regulations as merely aspirational guidelines for California’s community colleges is contrary
27
      to the mandatory language of the regulations” and “disingenuous.” Johnson Mag. Rec. at 34
28

                                        11
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 1
      (emphasis added). Likewise, Magistrate Judge Baker correctly concluded that the DEIA Rules
 2
      dictate “what faculty must teach, how they should teach, and how they will be evaluated.” Johnson
 3
      Mag. Rec. at 22.
 4
             Specifically, faculty are evaluated on their job performance based on how well they embrace
 5
      “DEIA and anti-racist principles” and incorporate “DEIA and anti-racist principles,” like “anti-
 6
      racism” and “intersectionality” into their curriculum. Verif. Compl. Exs. A, F. As Magistrate Judge
 7
      Baker explained, the DEIA Rules require faculty to “‘employ teaching, learning, and professional
 8
      practices that reflect DEIA and anti-racist principles.’” Johnson Mag. Rec. at 34 (quoting Cal. Code
 9
      Regs. Tit. 5 § 53605(a) According to the Competencies and Criteria, this includes at a minimum:
10                (1) “Acknowledge[ing]” the “diverse, fluid, intersectional nature” of identity;
                  (2) “Demonstrate[ing]” their “ongoing awareness and recognition” of
11                    “structures of oppression and marginalization,”
12                (3) “Seek[ing] DEI and anti-racist perspectives” and continually improving
                      their “own commitment to DEI and acknowledgment of any internalized
13                    personal biases;”
                  (4) “Promot[ing]” and “incorporates” a “DEI and anti-racist pedagogy” into
14                    their teaching;
                  (5) “[P]romot[ing] a race-conscious and intersectional lens”;
15                (6) Being “culturally affirming;” and
16                (7) “Advocat[ing] for and advance[ing] … systemic and cultural change.”

17
      Verif. Compl. Ex. B. Under the Model Principles, DEIA principles and a “social justice lens” must
18
      be “[w]eav[ed] into every course.” Verif. Compl. Ex. D. Professors are warned not to “‘weaponize’
19
      academic freedom” or “inflict curricular trauma on our students.” Id. And the Glossary warns that
20
      the viewpoints Plaintiffs embrace, such as “color blindness” and “merit,” are perpetuating racism
21
      or white supremacy. Verif. Compl. Ex. E. These requirements leave no doubt the government seeks
22
      to materially alter the substance of professors’ speech, not just its form, and that they are not merely
23
      advisory.
24
             Defendants also claim the Implementation Guidelines are advisory and cannot be used to
25
      interpret the DEIA Rules and Faculty Contract. State Mot. at 5; Dist. Mot. at 15. But Plaintiffs’
26
      Complaint alleges that State Center incorporated the Implementation Guidelines into the Faculty
27
      Contract and intends to utilize them when enforcing the Faculty Contract. Verif. Compl ¶¶ 83, 96.
28

                                        12
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 1
      At the pleadings stage, this allegation, which is far from “imaginary or . . . speculative,” Susan B.
 2
      Anthony List v. Driehaus, 573 U.S. 149, 160 (2014), must be accepted as truthful, and the
 3
      Implementation Guidelines should be looked at as part of the DEIA Rules and Faculty Contract.
 4
      See OSU Student All. v. Ray, 699 F.3d 1053, 1063 (9th Cir. 2012) (“Accepting as true the allegations
 5
      in the complaint” concerning the enforcement of a university policy).
 6
              Regardless, the Implementation Guidelines are binding, not advisory. Under the DEIA
 7
      Rules, the Chancellor “shall adopt and publish guidance describing DEIA competencies and
 8
      criteria.” Cal. Code of Regs. Tit. 5, § 53601(a)–(b) (emphasis added). And that is exactly what the
 9
      Chancellor has done by adopting the Implementation Guidelines—including the Competencies and
10
      Criteria, the Model Principles, and the Glossary. The Chancellor’s office published each “in
11
      collaboration with system stakeholder groups,” precisely as § 53601 directs. Id.; Verif. Compl. Ex.
12
      B. These documents therefore qualify as guidance concerning “DEIA competencies and criteria”
13
      that “shall be used” by districts under § 53601.2
14
              The Competencies and Criteria sets out “the skills, knowledge, and behaviors that all
15
      California Community College (CCC) employees must demonstrate[.]” Verif. Compl. Ex. B. The
16
      Chancellor’s office sent this document out to all districts and referred to it as a “framework that can
17
      serve as a minimum standard for evaluating all California Community College employees.” Verif.
18
      Compl. Ex. C. See also Johnson Mag. Rec. at 11 (noting the “the Academic Senate for California
19
      Community Colleges distributed these ‘guidelines and their accompanying memorandum’” to
20
      community college districts). In fact, Counsel for the State Defendants conceded in a hearing in the
21
      Johnson case that the standards the District adopts must be consistent with the Competencies and
22
      Criteria. Reply Supp. Prelim. Inj, Ortner Decl. Ex. A, ECF No. 29 at 12:3-18. 3 The District
23
          2
            The State Defendants argue that the Implementation Guidelines are not enforceable because they
24    were not enacted pursuant to Board of Governors procedures. State Mot. at 5–6. But the DEIA Rules were
      adopted by the Board of Governors, and the process set out for the adoption of competencies and criteria
25    in the DEIA Rules does not require further approval by the Board. Cal. Code of Regs. tit. 5, § 53601(a)–
      (b). The Board of Governors’ rules also do not require a formal approval process for “explanatory
26
      advisories, guidelines, or statements issued by the Board or the Chancellor to the districts.” See Cal. Cmty.
27    Colls., Procedures and Standing Orders of the Board of Governors (Dec. 2022) ch. 2, § 200.
          3
           The hearing transcript from the Johnson case is subject to judicial notice as a public record. See, e.g.,
28    Schauf v. Am. Airlines, No. 1:15-CV-01172-SKO, 2015 WL 5647343, at *3 (E.D. Cal. Sept. 24, 2015)

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 1
      Defendants acknowledged the same in a September 19, 2023 email to all staff. Id., Blanken Decl.
 2
      ¶¶ 4, Ex A.4
 3
                Implementing the Glossary definitions is also mandatory. The implementation memo
 4
      directs faculty to the Glossary to “assist with . . . understanding [the] DEIA efforts.” Verif. Compl.
 5
      Ex. C. The Model Principles document is likewise listed on the State Chancellor’s DEIA website5
 6
      as a “guidance memo” explaining how to integrate “DEIA principles” into the classroom and setting
 7
      out “curricular priorities” districts should incorporate. Verif. Compl. Ex. D. Each of the
 8
      Implementation Guidelines therefore “shall be used” by the districts in implementing and enforcing
 9
      the requirements in the DEIA Rules.
10
                Furthermore, even if the Implementation Guidelines are not binding, they still shed light on
11
      how the State expects the DEIA Rules will be implemented and what kinds of curricular changes
12
      the DEIA Rules are intended to achieve—something neither set of Defendants has denied. In light
13
      of the DEIA Rules’ vague terminology and the lack of clear standards, no reasonable faculty
14
      member would risk ignoring these guidelines when determining how to comply with the DEIA
15
      Rules. See Infra Section III.D. The DEIA Rules as interpreted by the Implementation Guidelines
16
      and enforced through the Faculty Contract, therefore, infringe on Plaintiffs First Amendment
17
      Rights.
18
                B.     Plaintiffs’ Injuries are Caused by Both the State’s and the District’s Actions.
19
                Plaintiffs’ injuries are “fairly traceable” to both the State Defendants’ adoption of the DEIA
20
      Rules and the District Defendants’ implementation of the DEIA Rules. The State Defendants argue
21
      they are not responsible for any injury to Plaintiffs from the DEIA Rules because the District
22
      (“Court documents and other matters of public record are the proper subject of judicial notice.”); Under
23    both Rules 12(b)(1) and 12(b)(6), “materials of which a district court may take judicial notice are not
      considered extrinsic evidence” and may properly be considered. DeFiore v. SOC LLC, 85 F.4th 546, 553
24    n.2 (9th Cir. 2023).
          4
25         Defendants dispute the allegations in Plaintiffs’ complaint that the Competencies and Criteria are
      binding on the District and Plaintiffs. Verif. Compl ¶¶ 58–80, 83, 96. To the extent that this argument is
26    deemed a factual challenge, the Court may consider relevant material outside the pleadings for purposes of
      evaluating it. Dalfio, 2022 WL 3083323, at *1.
27        5
           California Community Colleges, Diversity, Equity, Inclusion, and Accessibility (last accessed Sept.
28    25, 2023), https://www.cccco.edu/About-Us/Vision-for-Success/diversity-equity-inclusion.


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 1
      Defendants must ultimately implement the DEIA Rules. State Mot. at 9–13. But Article III does
 2
      not require plaintiffs to be the object of the government’s action—only a “causal connection
 3
      between [plaintiffs’] injury and the conduct complained of” is needed. Lujan, 504 U.S. at 560.
 4
      Enactment of the DEIA Rules by the State Defendants “set[] in motion a series of acts by others”
 5
      they knew or should have known “would cause others to inflict the constitutional injury.” Merritt
 6
      v. Mackey, 827 F.2d 1368, 1371 (9th Cir. 1987). The DEIA Rules have a “determinative or coercive
 7
      effect upon the action of” the District Defendants, and therefore Plaintiffs have standing to sue the
 8
      State Defendants. Skyline Wesleyan Church v. Cal. Dep’t of Managed Health Care, 968 F.3d 738,
 9
      749 (9th Cir. 2020). See Johnson Mag. Rec. at 25 (finding that the DEIA Rules “arises from and is
10
      fairly traceable” to the State Defendants).
11
              Contrary to what the State Defendants’ claim, State Mot. at 1, 4, the DEIA Rules are not
12
      just inspirational “professional development” goals setting forth the State’s “ideals.” The DEIA
13
      Rules establish “Standards in the Evaluation and Tenure Review of District Employees” which now
14
      form the “minimum qualifications for employment.” Verif. Compl. Ex. A. They are filled with
15
      mandates extending to both the districts and their employees. For instance, a district “shall adopt
16
      policies for the evaluation of employee performance.” Evaluations “must include consideration of
17
      an employee’s . . . proficiency in . . . DEIA-related competencies.” Districts “shall . . . place
18
      significant emphasis on DEIA competencies.” And “[d]istrict employees must have or establish
19
      proficiency in DEIA-related performance to teach, work, or lead within California community
20
      colleges.” Id. See Hunt Wesson Foods, Inc. v. Supreme Oil Co., 817 F.2d 75, 77 (9th Cir. 1987)
21
      (“‘shall’ is a mandatory term”). Indeed, the State Defendants concede that districts are bound to
22
      follow each of these “minimum standards adopted by the board of governors” of the California
23
      Community Colleges. State Mot. at 4, 11. Likewise the District Defendants acknowledge that these
24
      DEIA Rules “impose mandatory requirements.” Dist. Mot. at 28.6 These concessions are fatal to
25
26
          6
           State Center cannot ignore binding requirements from the State Chancellor’s office, especially given
27    the oversight authority of the State Chancellor and Board of Governors. Cal. Educ. Code § 70901 (“[T]he
      board of governors shall provide general supervision over community college districts” including setting
28    “[m]inimum standards for the employment of academic and administrative staff in community colleges”);

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 1
      the State Defendants’ standing arguments because they show that the State Defendants actions had
 2
      a “determinative or coercive effect upon the action of” the District Defendants. Skyline Wesleyan
 3
      Church, 968 F.3d at 749.7
 4
              The primary standing case State Defendants rely on, Barke v. Banks, is inapposite. State
 5
      Mot. at 9. In Barke, a law prohibited public employers from discouraging employees from joining
 6
      employee organizations. 25 F.4th 714, 716 (9th Cir. 2022). Unlike the DEIA Rules, the law in
 7
      Barke did not regulate employee speech at all as Magistrate Judge Baker rightly pointed out. See
 8
      Johnson Mag. Rec. at 22 (“Unlike Barke, the regulations at issue here injure Plaintiff’s
 9
      constitutionally protected individual interest[.]”). Similarly, in Leonard v. Clark, another case
10
      Defendants rely on, State Mot. at 9, individual employees lacked standing to challenge a collective
11
      bargaining agreement that restricted the union’s own speech but did not even implicate employee
12
      speech. 12 F.3d 885, 888–89 (9th Cir. 1993). By contrast, the DEIA Rules order community college
13
      districts to implement DEIA requirements for their employees who can be sanctioned or fired if
14
      they do not comply. Verif. Compl. Ex. A § 53602.
15
              Likewise, First Interstate Bank v. State of California, 197 Cal. App. 3d 627, 633 (1987), is
16
      distinguishable and “largely inapplicable to this case.” Johnson Mag. Rec. at 25. In that case, the
17
      court that the Board of Governors could not be responsible for “a district’s breach of contract”
18
      because the Board of Governors had not entered into the contract. Id. Here, by contrast, the State
19
      Defendants enacted the DEIA Rules that are binding on the districts and causing Plaintiffs’ injury.
20
      It does not matter that the State Defendants are not the ones with the direct authority to fire or
21
      punish Plaintiffs. Neither the State Defendants nor the District Defendants need to be “the sole
22
      source of the [injury]” to be subject to suit. Barnum Timber Co. v. U.S. E.P.A., 633 F.3d 894, 901
23
24
25    Cal. Code Regs. Tit. 5, §§ 51100–02 (authorizing the State Chancellor to review whether districts are
      complying with the minimum standards and to impose penalties for lack of compliance).
26        7
           In their preliminary-injunction briefing, the District Defendants similarly admitted they adopted the
27    DEIA language in the Faculty Contract in order to comply with the DEIA Rules. Mosier Decl. ¶ 3, ECF
      No. 24-1 (“[T]he parties decided at that time to incorporate principles from the proposed versions of the
28    DEIA regulations into the agreement in anticipation of their formal adoption.”).


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 1
      (9th Cir. 2011).” In short, “Plaintiff[s’] alleged injury arises from and is fairly traceable to” the
 2
      actions of the State Defendants. Johnson Mag. Rec. at 25.
 3
             The District Defendants claim they are immune from suit because they are merely
 4
      complying with state law and their policy did not “cause” the constitutional violations. See Dist.
 5
      Mot. at 27 (citing Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658 (1978)). But the
 6
      “District Defendants are state officials, rather than municipal officials” and therefore are not
 7
      immune under Monell. Johnson Mag. Rec. at 27, 41–42; see Mitchell v. Los Angeles Cmty. Coll.
 8
      Dist., 861 F.2d 198, 201 (9th Cir. 1988) (“California state colleges and universities are dependent
 9
      instrumentalities of the state” (internal quotations and citations omitted)). And, even if Monell did
10
      apply to the District Defendants, the cases on which they rely are inapposite because those cases
11
      did not involve a “discretionary delegation of authority” from the state to the municipality.
12
      Quezambra v. United Domestic Workers of Am. AFSCME Loc. 3930, 445 F. Supp. 3d 695, 706
13
      (C.D. Cal. 2020) (county required to “[r]ely on” union requests for employee deductions) . Indeed,
14
      municipal officials were given “no discretion” at all. Aliser v. SEIU Cal., 419 F.Supp.3d 1161, 1165
15
      (N.D. Cal. 2019) (public employer “shall rely” on information from union regarding cancellation
16
      of deductions). By contrast, the Faculty Contract is State Center’s “policy,” and it plays “a part in
17
      the violation of federal law.” Hafer v. Melo, 502 U.S. 21, 25 (1991). State Center is obligated to
18
      implement the DEIA Rules, but it has the discretion to adopt additional requirements and it has
19
      done so here. For instance, the DEIA Rules do not require that professors write a personal statement
20
      about their embrace of DEIA principles; rather, that requirement comes directly from State Center.
21
      Indeed, the District Defendants concede as much, recognizing that “the District has significant
22
      discretion in interpreting and applying the new DEIA regulations.” Dist. Mot. at 28. The violation
23
      of Plaintiffs’ First Amendment rights is directly traceable to both sets of Defendants.
24
             C.      Plaintiffs Are Reasonably Likely to Be Injured By the DEIA Rules and
25                   Faculty Contract.
26           Plaintiffs face “a realistic danger of sustaining a direct injury as a result of” the DEIA Rules
27    “operation or enforcement.” Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298
28

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 1
      (1979). In First Amendment cases, “[t]he Supreme Court has ‘dispensed with rigid standing
 2
      requirements.” Tingley, 47 F.4th at 1067 (quoting Cal. Pro-Life Council, Inc. v. Getman, 328 F.3d
 3
      1088, 1094 (9th Cir. 2003)). Because a “chilling of the exercise of First Amendment rights is, itself,
 4
      a constitutionally sufficient injury” a Plaintiff is encouraged to “‘challenge now’” rather than self-
 5
      censor. Id. Accordingly, this Court should “assume a credible threat of prosecution in the absence
 6
      of compelling contrary evidence.” Speech First, 979 F.3d at 335 .
 7
             Here, the DEIA Rules and Faculty Contract are already in force and having a chilling effect
 8
      on Plaintiffs. Furthermore, Plaintiffs have shown that “(1) they intend to violate the law” and that
 9
      there is (2) “a reasonable likelihood that the government will enforce the statute against them.”
10
      Project Veritas v. Schmidt, 72 F.4th 1043, 1053 (9th Cir. 2023). Plaintiffs face a “credible threat”
11
      that the DEIA Rules and Faculty Contract will be enforced against them during their evaluations
12
      because they refuse to comply with the State’s “mandatory requirement,” that they endorse and
13
      affirm the state’s DEIA viewpoints and they continue to teach contrary viewpoints in the classroom.
14
      Dist. Mot. at 28.
15
             Plaintiffs’ Verified Complaint identifies how Plaintiffs will run into conflict with the DEIA
16
      Rules and Faculty Contract due to Defendants forcing them to endorse concepts they reject.
17
      Plaintiffs point to several topics, books, articles, and assignments that they have assigned for years
18
      without incident but have stopped or may stop assigning out of fear of violating the DEIA Rules
19
      and Faculty Contract. Verif. Compl. ¶¶ 100–09, 117–20, 127–33, 141–44, 151–60 162–70. They
20
      also refuse to endorse specific concepts and viewpoints that they must now endorse such as “anti-
21
      racism” and “intersectionality.” Id. Furthermore, in their self-evaluations, Plaintiffs will express
22
      their opposition to concepts such as “anti-racism” and “intersectionality,” and will instead advance
23
      contrary concepts like “color-blindness.” Verif. Compl. ¶¶ 113, 123, 137, 148, 158, 172. Indeed, at
24
      least one of the Plaintiffs already did so during his last review cycle before the Faculty Contract
25
      was in effect. Verif. Compl. ¶ 123.
26
             Because Plaintiffs “not only will ignore DEIA regulations but intend[] to criticize and
27
      challenge these regulations inside and outside the classroom,” Johnson Mag. Rec. at 22, they face
28

                                        18
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 1
      the reasonable likelihood that the DEIA Rules and Faculty Contract will be enforced against them.
 2
      Id. Indeed, it is certain that the DEIA Rules and Faculty Contract will be enforced against Plaintiffs
 3
      because Plaintiffs are now subject to regular DEIA evaluations to monitor and assess their fealty to
 4
      the government’s ordained DEIA views. And if Plaintiffs have not sufficiently trumpeted
 5
      California’s DEIA viewpoints, they face discipline and termination. Verif. Compl. ¶¶ 15, 24.
 6
      Plaintiffs Stannard and Blanken are already being evaluated under the DEIA Rules and Faculty
 7
      Contract this current semester (Winter/Spring 2024). Verif. Compl. ¶¶ 135, 155. It is therefore
 8
      “likely that at some point Plaintiff[s] will face consequences if [they do] not adhere to whatever
 9
      competencies and criteria are imposed on [them] through the DEIA regulations.” Johnson Mag.
10
      Rec. at 23. The State Defendants’ argument that Plaintiffs have failed “to show that their expression
11
      of allegedly protected speech will be a substantial or motivating factor in an adverse employment
12
      action” fails for the same reason. State Mot. at 15.
13
             Defendants attempt to moot Plaintiffs’ claims by asserting the concepts, books, and articles
14
      that Plaintiffs want to assign are not prohibited by the DEIA Rules. State Mot.. at 12. But their
15
      assertion is made as a convenient litigation position and does not alleviate the DEIA Rules’ chilling
16
      effect. At the pleading stage, Plaintiffs’ allegations that they are chilled from making those
17
      assignments must be accepted as fact, especially since Defendants have “adopted an expansive
18
      reading” of the DEIA Rules (as shown by the Implementation Guidelines). Lopez v. Candaele, 630
19
      F.3d 775, 788, 791 (9th Cir. 2010). Plaintiffs suffer a constitutional injury because their “speech
20
      arguably falls within the statute’s reach,” Human Life of Washington Inc. v. Brumsickle, 624 F.3d
21
      990, 1001 (9th Cir. 2010), and that is all that is needed at the pleading stage.
22
             The District Defendants also claim Plaintiffs will not be harmed because the DEIA
23
      requirements are only one of ten evaluation criteria. But the District Defendants concede that under
24
      the DEIA Rules, they must give these requirements “significant emphasis.” District Mot. at 14.
25
      And in the Faculty Contract, DEIA is given equal weight to core teaching requirements like
26
      “[k]nowledge of subject matter,” “[a]dherence to institutionally approved course outline,” and
27
      “[e]vidence of course objectives being met.” Verif. Compl. Ex. F at 43. Under Defendants’ criteria,
28

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 1
      Plaintiffs can no more afford to neglect the DEIA Rules than they could “knowledge of [their]
 2
      subject matter” or the “approved course outline.”
 3
             Finally, the requirements of the DEIA Rules and Faculty Contract are in effect, and
 4
      Plaintiffs are expected to implement these requirements in the classroom now. Therefore, the
 5
      District Defendants’ assurance that the Faculty Contract “has not been fully implemented or
 6
      interpreted” offers Plaintiffs little comfort. Dist. Mot. at 16. Given the significant potential
 7
      consequences for failure to comply, up to and including termination, professors at State Center
 8
      would be foolish to flaunt the DEIA Requirements until the semester when they are up for review.
 9
      See Verif. Compl. ¶¶ 90–95. Similarly, the lack of enforcement history provides no comfort to
10
      Plaintiffs who are now unsure what they can say or teach in the classroom without jeopardizing
11
      their jobs. See Tingley, 47 F.4th at 1069 (“[T]he history of enforcement[] carries ‘little weight’
12
      when the challenged law is ‘relatively new’ and the record contains little information as to
13
      enforcement.” (internal quotation marks and citation omitted)). Accord Johnson Mag. Rec. at 23–
14
      24. Similarly, what future regulations or training State Center may adopt is speculative and outside
15
      of the corners of Plaintiffs’ Complaint. The First Amendment does not require Plaintiffs to wait
16
      and see whether they or their colleagues will be punished for violating unconstitutional rules before
17
      challenging these unconstitutional abridgments of their First Amendment rights.
18
      II.    THE FACULTY CONTRACT IS NOT A VALID WAIVER OF PLAINTIFFS’ CONSTITUTIONAL
19           RIGHTS.

20           The DEIA provisions in the Faculty Contract are not a waiver of Plaintiffs’ First and
21    Fourteenth Amendment rights. Union representatives may not disclaim the First Amendment rights
22    of all full-time faculty. But even if a collective bargaining agreement could waive Plaintiffs’ rights,
23    the Faculty Contract did not do so because the DEIA provisions lacked a clear and unmistakable
24    statement to notify members that members were waiving their constitutional rights and the waiver
25    of rights was not voluntarily bargained for.
26
27
28

                                        20
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 1
              A.      The Union May Not Waive Plaintiffs’ Substantive Constitutional Rights.
 2
              “There are some rights and freedoms so fundamental to liberty that they cannot be
 3
      bargained away in a contract for public employment.” Borough of Duryea, Pa., v. Guarnieri, 564
 4
      U.S. 379, 386 (2011); cf. Metro. Edison v. NLRB, 460 U.S. 693, 705–06 (1983) (holding “a union
 5
      may bargain aways its members’ economic rights, but it may not surrender rights that impair the
 6
      employees’ choice of their bargaining representative”). The First Amendment rights of university
 7
      and college faculty is one such fundamental right. Cf. Meriwether v. Hartop, 992 F.3d 492, 505
 8
      (6th Cir. 2021) (“[A] professor’s rights to academic freedom and freedom of expression are
 9
      paramount in the academic setting.” (internal quotation marks omitted)). Those rights are core to
10
      our conception of the university as “peculiarly the ‘marketplace of ideas.’” Healy v. James, 408
11
      U.S. at 180 (1972); see also Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957) (plurality op.)
12
      (“The essentiality of freedom in the community of American universities is almost self-evident”).
13
              The cases the District Defendants cite are inapposite. Dist. Mot. 17–18. Indeed, several do
14
      not concern an individual employee’s First Amendment rights at all. See, e.g., Bolden v. Se. Pa.
15
      Transp. Auth., 953 F.2d 807, 826 (3d Cir. 1991) (mandatory drug testing); Seborowski v. Pittsburgh
16
      Press Co., 188 F.3d 163, 168 (3d Cir. 1999) (mandatory arbitration).8 And Bolden’s discussion in
17
      dicta that unions could limit employee speech tied to collective bargaining was overturned by the
18
      Supreme Court in Janus v. AFSCME as an “anomaly in our First Amendment jurisprudence.” 138
19
      S. Ct. 2448, 2459 (2018). Another case cited by Defendants involved a union waiving its own
20
      speech rights, not those of its members. See Leonard, 12 F.3d at 888. None of these cases support
21
      allowing a union to curb a university professor’s First Amendment protections for classroom
22
      teaching and speech. See Janus, 138 S. Ct.at 2472 (refusing to apply the reasoning of Pickering as
23
      an alternative basis for upholding agency-fee agreements).
24
25        8
            The Fourth Amendment rights at issue in Bolden are distinguishable from First Amendment
      freedoms because they have always been subject to “a variety of circumstances in which a third party may
26
      validly consent to a search or seizure.” 953 F.2d at 826; see also Karetnikova v. Trs. of Emerson Coll., 725
27    F. Supp. 73, 81 (D. Mass. 1989) (distinguishing drug testing cases from waiver of free speech rights
      because “[f]ree speech is not simply a personal right which protects the individual who exercises it, . . . but
28    also the public to whose broad marketplace of ideas the speaker contributes”).


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 1
             A rule allowing public-sector unions to waive university faculty members’ First
 2
      Amendment right to speak on matters of public concern “would directly conflict with the important
 3
      First Amendment values previously articulated by the Supreme Court,” Demers, 746 F.3d at 411,
 4
      and allow the State to realize indirectly, through a collective bargaining agreement, what the
 5
      Constitution prohibits it from doing directly. See Abood v. Detroit Bd. of Educ, 431 U.S. 209, 252–
 6
      53 (1977) (Powell, J., concurring in the judgment) (arguing that collective bargaining agreements
 7
      are “fully subject to the constraints that the Constitution imposes on coercive governmental
 8
      regulation”); accord Janus, 138 S. Ct. at 2483–84. Plaintiffs’ First Amendment rights are too
 9
      important to be traded away in exchange for other benefits at the negotiating table.
10
             B.      The Contract Provisions Were Not a “Clear and Unmistakable” Waiver of
11                   Constitutional Rights.
12           The Faculty Contract failed to provide a “clear and unmistakable” waiver of members’ First
13    Amendment rights, a necessary condition for a collective bargaining agreement to waive members’
14    constitutional rights. See Wright v. Universal Mar. Serv. Corp., 525 U.S. 70, 80 (1998). Courts
15    interpret “clear and unmistakable” to mean an express statement that the constitutional or statutory
16    rights and protections at issue are waived and replaced with the procedures and protections agreed
17    upon in the terms of the contract. See Nelson v. Cyprus Bagdad Copper Corp., 119 F.3d 756, 762
18    (9th Cir. 1997) (“[T]he employee must explicitly agree to waive the specific right in question.”).
19           This requirement has been enforced strictly. In Wright, the Supreme Court held a collective
20    bargaining agreement did not contain a “clear and unmistakable” waiver of members’ statutory
21    right to file a lawsuit where the arbitration clause merely provided for arbitration of “[m]atters
22    under dispute,” and the remainder of the contract did not include an explicit incorporation of
23    statutory antidiscrimination requirements. 525 U.S. at 80–81. The Court held “matters under
24    dispute” did not clearly incorporate statutory antidiscrimination rights because the phrase could
25    also be understood to refer to matters in dispute under the contract. Id. Similarly, in Ciambriello v.
26    County of Nassau, the Second Circuit held a collective bargaining agreement did not waive
27    members’ procedural due-process right to a pre-demotion hearing where it contained no express
28

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 1
      statement that members were waiving their constitutional rights in favor of the grievance
 2
      procedures detailed in the contract. 292 F.3d 307, 321–22 (2d Cir. 2002). While a clause provided
 3
      that the disciplinary procedures in the contract were in lieu of “any and all other statutory or
 4
      regulatory disciplinary procedures,” it did not mention rights derived from the Constitution. Id. at
 5
      322. By contrast, in Barnard v. Lackawanna County, a case on which the Defendants rely, the
 6
      express contractual language that “none of the employees collectively or individually . . . shall
 7
      directly or indirectly . . . engage in . . . any strike or sympathy strike” was such a “clear and
 8
      unmistakable” waiver of the plaintiff’s right to strike that it would apply “whatever [her] choice of
 9
      forum or formulation of her legal claims.” 696 F. App’x 59, 61–62 (3d Cir. 2017). These cases
10
      show that although a waiver need not explicitly state the right being waived, id., the intention to
11
      waive a specific right “must, at the very least, be clear.” Fuentes v. Shevin, 407 U.S. 67, 95 (1972).
12
              Like the contracts in Wright and Ciambriello, and unlike the contract in Barnard, the
13
      Faculty Contract does not include any provision or language alerting faculty members to the waiver
14
      of their First and Fourteenth Amendment rights. Rather, the Contract merely states that faculty will
15
      be evaluated based on their demonstrated DEIA-related competencies. Verif. Compl. Ex. F at 35,
16
      37. Given the strong “presumption against waiver,” that is not enough. Fuentes, 407 U.S. at 94
17
      n.31.
18
              C.     The Contract Provisions Were Not a Voluntary and Knowing Waiver of
19                   Constitutional Rights.
20            Even if the union were permitted to waive faculty members’ First Amendment rights (it is
21    not) and the Faculty Contract provisions implementing the DEIA requirements indicate a clear and
22    unmistakable waiver of these rights (they do not), any purported waiver would be invalid because
23    Plaintiffs’ union did not voluntarily agree to those terms of the Faculty Contract. Waiver is “the
24    ‘intentional relinquishment or abandonment of a known right or privilege.’” Coll. Sav. Bank v. Fla.
25    Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 682 (1999) (emphasis added) (quoting
26    Johnson v. Zerbst, 304 U.S. 458, 464 (1938)). The Court must “indulge every reasonable
27    presumption against waiver” of constitutional rights, Fuentes, 407 U.S. at 94 n.31 (quoting Aetna
28

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 1
      Ins. Co. v. Kennedy, 301 U.S. 389, 393 (1937)), and refrain from finding an implied waiver, Gete
 2
      v. INS, 121 F.3d 1285, 1293 (9th Cir. 1997) (“[a] waiver of constitutional right is ‘not to be implied
 3
      and is not lightly to be found’” (quoting Ostlund v. Bobb, 825 F.2d 1271 (9th Cir. 1987))). Thus, it
 4
      must be “‘established by clear and convincing evidence that the waiver is voluntary, knowing, and
 5
      intelligent.’” Id. (quoting Davies v. Grossmont Union High Sch. Dist., 930 F.2d 1390, 1394 (9th
 6
      Cir. 1991)). “A waiver of constitutional rights is voluntary if, under the totality of the
 7
      circumstances, it was the product of a free and deliberate choice rather than coercion or improper
 8
      inducement.” Comer v. Schiro, 480 F.3d 960, 965 (9th Cir. 2007) (citations omitted).
 9
             Here, Plaintiffs’ union did not voluntarily agree to the Faculty Contract’s DEIA provisions
10
      because those terms did not result from free and deliberate negotiations between parties of relatively
11
      equal bargaining power. Erie Telecomms., Inc. v. City of Erie, Pa., 853 F.2d 1084, 1095–96 (3d
12
      Cir. 1988) (citing D.H. Overmyer v. Frick Co., 405 U.S. 174 (1972) and Fuentes, 407 U.S. at 95).
13
      As the District Defendants note repeatedly, California Government Code § 3543.2 makes faculty
14
      evaluation criteria a mandatory subject of bargaining and the union had no ability to bargain
15
      regarding the substance of the Faculty Contract’s DEIA provisions. E.g., Dist. Defs. Mot. 17.
16
      Removing the DEIA provisions from the negotiating table, therefore, left Plaintiffs’ union,
17
      negotiating on behalf of its members, with only Hobson’s choice over the mechanism by which its
18
      members lose their First Amendment rights—either (1) the union accepts the publicly objected-to
19
      contractual terms restricting its members’ First Amendment rights;9 or (2) bargaining reaches an
20
      impasse, at which point the District Defendants may unilaterally implement those terms, Sw. Forest
21
      Indus., Inc. v. NLRB, 841 F.2d 270, 273 (9th Cir. 1988) (citing Cuyamaca Meats, Inc. v. San Diego
22
      & Imperial Cntys. Butchers’ & Food Emps.’ Pension Tr. Fund, 827 F.2d 491, 496 (9th Cir. 1987)).
23
      The “totality of the circumstances” here clearly shows that any purported waiver by the union of
24
      its members’ First Amendment rights was not voluntary because it was not “the product of a free
25
26       9
            Proposed Evaluation and Tenure Review Regulatory Action - Chancellor’s Office Responses to
27    Public Comments [hereinafter Chancellor’s Responses],
      https://go.boarddocs.com/ca/cccchan/Board.nsf/files/CERSPP73AB25/%24file/Chancellor%27s-Office-
28    Response-to-Public-Comments-Amended-5.22.2022-a11y.pdf.


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 1
      and deliberate choice.” Comer, 480 F.3d at 965; see Peninsula Props., Inc. v. City of Sturgeon Bay,
 2
      No. 04-C-692, 2005 WL 2234000, at *8 (E.D. Wis. Aug. 17, 2005) (holding “the City’s use of its
 3
      authority in order to impose [permitting] conditions” on developers “to which they did not want to
 4
      agree and which harmed their financial and property interest,” violated developers’ due process
 5
      rights).
 6
                   This case lies in stark contrast to Leonard v. Clark a case that both sets of Defendants rely
 7
      on in which the Ninth Circuit held a union waived its constitutional rights when it “originally
 8
      proposed the language of the agreement” and the provision in question was “not a condition
 9
      imposed by City ordinance.” 12 F.3d at 890. The Leonard court noted that this waiver “resulted
10
      from the give-and-take of negotiations between parties of relatively equal bargaining strength.” Id.
11
      Here, however, the exact opposite happened. There was no “give-and-take.” The District and
12
      Plaintiffs’ union did not have “relatively equal bargaining strength.” And the union here not only
13
      did not “originally propose[] the language,” but publicly protested them.10 Rather, as discussed
14
      above, the inclusion and substance of the Faculty Contract’s DEIA provisions are “condition[s]
15
      imposed by” government fiat against its negotiating partner. This is precisely the “case of unequal
16
      bargaining power or overreaching” that the Leonard court warned would prevent a waiver from
17
      being voluntary. 12 F.3d at 890 n.6 (citing Fuentes, 407 U.S. at 95).
18
                   Furthermore, Defendants bear the burden of proving “clear and convincing evidence that
19
      the waiver is voluntary, knowing, and intelligent.” Gete, 121 F.3d at 1293. This makes dismissal at
20
      the pleadings stage, highly inappropriate.
21
      III.         EACH OF PLAINTIFFS’ CLAIMS SURVIVES THE MOTION TO DISMISS.
22
                   Defendants’ 12(b)(6) motions must be denied because Plaintiffs’ Verified Complaint
23
      “contain[s] sufficient factual matter” to “state a claim to relief that is plausible on its face.” Ashcroft
24
      v. Iqbal, 556 U.S. 662, 678 (2009). The Court must “accept all factual allegations in the complaint
25
      as true and construe the pleadings in the light most favorable to the nonmoving party.” Charles v.
26
      City of Los Angeles, 697 F.3d 1146, 1151 (9th Cir. 2012) (internal quotation marks omitted). It
27
             10
28                Chancellor’s Responses, supra note 9.


                                        25
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 1
      must also draw all “reasonable inference[s] in favor of the Plaintiffs. Iqbal, 556 U.S. at 678; accord
 2
      Nayab v. Cap. One Bank (USA), N.A., 942 F.3d 480, 496 (9th Cir. 2019).
 3
             The DEIA Rules and Faculty Contract require Plaintiffs to teach and preach the State’s
 4
      mandatory DEIA viewpoints. They therefore discriminate based on viewpoint and prohibit
 5
      Plaintiffs from sharing contrary viewpoints (Counts I & II) and compel Plaintiffs to endorse DEIA
 6
      viewpoints in the classroom and in their respective personal essays (Counts III & IV) on pain of
 7
      professional discipline. The DEIA Rules also impose an unconstitutional prior restraint (Counts V
 8
      & VI). The DEIA Rules and Faculty Contract are also overbroad (Counts VII & VIII) and vague
 9
      (Counts IX & X). None of these claims can be dismissed at the pleading stage.
10
             A.      Defendants Violate Plaintiffs’ First Amendment Rights by Discriminating in
11                   Favor of the State’s Approved DEIA Viewpoints
12           The DEIA Rules and Faculty Contract violate well-established protections for classroom
13    speech employing highly disfavored viewpoint-based discrimination. Accordingly, strict scrutiny
14    should apply. But even if less rigorous scrutiny applies, Plaintiffs’ viewpoint discrimination claims
15    still survives the motion to dismiss.
16                        i. The First Amendment protects Plaintiffs’ classroom speech
17           The “vigilant protection of constitutional freedoms is nowhere more vital than in the
18    community of American” colleges and universities. Keyishian v. Bd. of Regents of Univ. of N.Y.,
19    385 U.S. 589, 603 (1967). Indeed, “safeguarding academic freedom . . . is of transcendent value.”
20    Id. As a result, the First Amendment “does not tolerate laws that cast a pall of orthodoxy over the
21    classroom.” Id. Public colleges and universities “do not have a license to act as classroom thought
22    police.” Meriwether v. Hartop, 992 F.3d 492, 507 (6th Cir. 2021).
23           The First Amendment protects “speech related to scholarship or teaching.” See Demers, 746
24    F.3d at 406. This includes the right of faculty members to teach diverse viewpoints in the classroom
25    and of students to be exposed to diverse opinions, “even (perhaps especially) when they concern
26    sensitive topics like race, where the risk of conflict and insult is high.” Rodriguez v. Maricopa Cnty.
27    Cmty. Coll. Dist., 605 F.3d 703, 708 (9th Cir. 2010). Accordingly, the government may not “force
28

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 1
      professors to avoid controversial viewpoints,” Meriwether, 992 F.3d at 507, nor “impose [their]
 2
      own orthodoxy of viewpoint about the content . . . allowed within university classrooms.” Pernell
 3
      v. Fla. Bd. of Govs. of State Univ. Sys., 641 F. Supp. 3d 1218, 1273 (N.D. Fla. Nov. 17, 2022);
 4
      accord Hardy v. Jefferson Cmty. Coll., 260 F.3d 671, 674 (6th Cir. 2001) (holding a community
 5
      college instructor’s use of profanity and racial slurs in a discussion on the use of language in a
 6
      communications class was protected by the First Amendment).
 7
             Notably, the State Defendants ignore the Ninth Circuit’s decision in Demers altogether.
 8
      There, the Ninth Circuit rejected the argument that a professor’s “speech related to scholarship or
 9
      teaching” was unprotected by the First Amendment if undertaken pursuant to a professor’s job
10
      duties. Demers, 746 F.3d at 406. Instead, the State Defendants rely on cases which pre-date Demers
11
      and have nothing to do with classroom teaching. State Mot. at 14–15. In Downs v. Los Angeles
12
      Unified School District, 228 F.3d 1003, 1013 (9th Cir. 2000), the court ruled that a school could
13
      prevent a high school teacher from posting his own non-curricular material on a school bulletin
14
      board. Id. But a high school teacher’s posts on a bulletin board are a far cry from a college
15
      professor’s in-class discussions. See Meriwether, 992 F.3d at 505 & n.1 (distinguishing between
16
      the rights of high school teachers and college professors and noting that a “professor's rights to
17
      academic freedom and freedom of expression are paramount in the academic setting”). Meanwhile,
18
      in Bair v. Shippensburg University, students sought to enjoin several university policies declaring
19
      the university’s commitment to principles like “social justice and equality.” 280 F. Supp. 2d 357,
20
      362–63 (M.D. Pa. 2003). However, the language did not regulate student speech, but merely sought
21
      “to advise the student body of the University’s ideals and [was] therefore aspirational rather than
22
      restrictive.” Id. at 370–71. A university stating its own ideals is one thing. A university mandating
23
      that faculty teach and preach those ideals in their classrooms or risk professional repercussions is
24
      something else entirely.
25
                         ii. Defendants cannot punish Plaintiffs for expressing differing
26                           viewpoints in the classroom.
27           Viewpoint discrimination is a “poison to a free society”—particularly in our public
28

                                        27
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 1
      institutions of higher learning. Iancu v. Brunetti, 139 S. Ct. 2294, 2302 (2019) (Alito, J.,
 2
      concurring). Viewpoint discrimination is an “egregious form of content discrimination” that is a
 3
      particularly “blatant” First Amendment violation. Rosenberger v. Rector & Visitors of the Univ. of
 4
      Va., 515 U.S. 819, 829 (1995). Without a compelling interest, colleges cannot exclude viewpoints
 5
      that are “germane to the classroom subject matter.” Hardy, 260 F.3d at 683. This is especially true
 6
      for controversial topics “like race, where the risk of conflict and insult is high.” Rodriguez, 605
 7
      F.3d at 708.
 8
               The DEIA Rules and Faculty Contract are viewpoint-based, requiring Plaintiffs to
 9
      “acknowledge,” “promote,” “incorporate,” “advocate for,” “advance,” and “weav[e] . . . into every
10
      course” DEIA principles such as “anti-racism” and “intersectionality.” Verif. Compl. Exs. B, D.
11
      The District Defendants are candid that, under the Faculty Contract, the District will “engage in a
12
      form of content and viewpoint discrimination.”11 Dist. Mot. at 20.12 But they are mistaken in
13
      arguing the First Amendment tolerates their content and viewpoint discrimination. True, a
14
      university must be able to set content-based curricular standards. See Demers, 746 F.3d at 413
15
      (“Ordinarily . . . content-based judgment is anathema to the First Amendment. But in the academic
16
      world, such a judgment is both necessary and appropriate.” (emphasis added)). For instance, it is
17
      unremarkable that a university could force a math professor to teach his students math rather than
18
      philosophy. But requirements for what pedagogically relevant viewpoints public university faculty
19
      discuss in their classrooms are another matter altogether.
20
      Forcing professors to embrace concepts like “anti-racism” and “intersectionality”—ideas hotly
21
      debated in academia and among the general public, is no different than requiring professors to
22
          11
23           In their opposition to the injunction motion, the District Defendants were even more forthright,
      conceding that under the DEIA Rules and Faculty Contract, the District “must necessarily evaluate
24    faculty’s academic and teaching excellence on the basis of viewpoint.” Dist. Opp’n Mtn. P. Inj., ECF No.
      23, at 20.
25        12
            Counsel for the State Defendants similarly acknowledged during a hearing in the case that
      determining compliance with the DEIA Rules would depend on how a professor implements DEIA
26
      material in the classroom. Ortner Decl. Ex. A at 15:6–10. In light of this concession, the State Defendants’
27    argument that Plaintiffs cannot prove that their speech will play “a substantial or motivating factor” in
      evaluations should be rejected. State Mot. at 15 (citing Eng v. Cooley, 552 F.3d 1062, 1071 (9th Cir.
28    2009)).


                                        28
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 1
      embrace a free-market or Marxist economic perspective, or champion an isolationist or
 2
      interventionist stance in foreign policy. Keyishian, 385 U.S. at 603 (the First Amendment “does not
 3
      tolerate laws that cast a pall of orthodoxy over the classroom”). The First Amendment does not
 4
      allow the government to “act as classroom thought police” and pick and choose which opinions
 5
      professors must air. Meriwether, 992 F.3d at 507.
 6
             Defendants also argue the DEIA Rules and Faculty Contract will not prohibit professors
 7
      from sharing their own viewpoints outright. State Mot. at 17; Dist. Mot. at 18. But the DEIA Rules
 8
      require Plaintiffs to actively “promot[e]” concepts like “anti-racism” or “race-conscious[ness].”
 9
      Plaintiffs are being evaluated for how well they espouse the government’s views—if they critique
10
      race-consciousness or promote color-blindness, they will be accused of not “promoting [] race-
11
      conscious[ness]” with sufficient vigor or even of “weaponiz[ing] academic freedom” to “inflict
12
      curricular trauma” on their students.
13
             Furthermore, professors know that any teaching or advocacy they do in favor of “anti-
14
      racism” will count towards their DEIA competency requirement, while contrary teaching or
15
      advocacy will not. For instance, Professor Druley’s signing of a “Pro-Human Pledge” will not be
16
      credited as participation in “community activities that promote systemic and cultural change,”
17
      Verif. Compl. ¶¶ 105–06, while similar activities of professors in support of race-conscious and
18
      “anti-racist” policies will be credited. Professors will feel pressured to express the State’s preferred
19
      DEIA viewpoints and to curtail speech to the contrary if they want to advance professionally or
20
      retain their jobs. The DEIA Rules and Faculty Contract therefore put a heavy thumb on the scale in
21
      favor of the State’s preferred DEIA viewpoints.
22
                         iii. Whether strict scrutiny or Pickering applies, Plaintiffs’ viewpoint
23                            discrimination claims survive the motion to dismiss
24           Defendants mistakenly argue the employee speech test set out in Pickering v. Board of
25    Education, 391 U.S. 563 (1968) should apply to Plaintiffs’ viewpoint discrimination claim since
26    this case involves Plaintiffs’ employment. Dist. Mot. at 20. It does not. Strict scrutiny applies to
27
28

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 1
      policies that discriminate based on viewpoint. See Rosenberger, 515 U.S. at 829 (strict scrutiny
 2
      applies to viewpoint discrimination) And Pickering did not involve viewpoint discrimination.
 3
             If, as Plaintiffs argue, strict scrutiny applies then Plaintiffs prevail and their claims plainly
 4
      survive the Defendants’ motion to dismiss. Defendants do not even attempt to argue the DEIA
 5
      Rules and Faculty Contract can survive strict scrutiny. But even if the Defendants are right and
 6
      Pickering is the proper standard, Plaintiffs claims survive the motions to dismiss. So the Court need
 7
      not conclusively resolve which standard applies at this stage.
 8
             This is because under Pickering, Defendants will need to prove that their interest “in
 9
      promoting the efficiency of the public services it performs through its employees” outweighs
10
      Plaintiffs’ interest “in commenting upon matters of public concern.” 391 U.S. at 568. More
11
      specifically, they would need to show that Plaintiffs’ speech would “so severely damage[],” Hyland
12
      v. Wonder, 972 F.2d 1129, 1139 ( 9th Cir. 1992), the State’s “goal of promoting diversity, equity,
13
      inclusion, and accessibility” that they should have “the authority to invalidate protected expressions
14
      of speech.” Johnson Mag. Rec. at 24. Defendants cannot make such a showing at the pleadings
15
      stage. Indeed, resolution of Pickering claims often “entails underlying factual disputes,” Eng, 552
16
      F.3d at 1071, and for this reason courts “can rarely perform the Pickering balancing on a motion to
17
      dismiss.” Guadalupe Police Officer’s Ass’n v. City of Guadalupe, Case No. CV 10–8061 GAF
18
      (FFMx), 2011 WL 13217672, at *10 (C.D. Cal. June 8, 2011) (noting “the Pickering balancing test
19
      ... does not easily lend itself to dismissal on a Rule 12(b)(6) motion” (citing Decotiis v. Whittemore,
20
      635 F.3d 22, 35 n.15 (1st Cir. 2011))). So even if Defendants are right about Pickering applying,
21
      they cannot prevail on their motion to dismiss.
22
             B.      Defendants May Not Compel Professors to Espouse the State’s Preferred
23                   DEIA Message.
24           The DEIA Rules and Faculty Contract violate the First Amendment because they compel
25    Plaintiffs to speak the government’s preferred message. Verif. Compl. ¶¶ 209–235. The
26    government “may not compel affirmance of a belief with which the speaker disagrees.” Hurley v.
27    Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557, 573 (1995). Compelled speech
28

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 1
      laws are particularly pernicious because they “[f]orc[e] free and independent individuals to endorse
 2
      ideas they find objectionable” and “coerce[] [them] into betraying their convictions.” Janus, 138 S.
 3
      Ct. at 2464. Laws compelling speech are subject to strict scrutiny because they “plainly alte[r] the
 4
      content of . . . speech.” Nat’l Inst. of Family & Life Advocs. v. Becerra (NIFLA), 138 S. Ct. 2361,
 5
      2371 (2018). Indeed, “involuntary affirmation could be commanded only on even more immediate
 6
      and urgent grounds than silence.” West Virginia Bd. of Educ. v. Barnette, 319 U.S. 624, 633 (1943).
 7
             Plaintiffs are expected and required to “acknowledge,” “promote,” “incorporate,” “advocate
 8
      for,” and “advance” DEIA principles which must be “weav[ed] . . . into every course.” Verif.
 9
      Compl. Exs. B, D. They must do so even though they fundamentally disagree with the State’s
10
      preferred DEIA positions and believe that they are pedagogically unsound. In this respect, the DEIA
11
      Rules and Faculty Contract echo the unconstitutional loyalty oaths of the McCarthy era by requiring
12
      faculty to “demonstrate” their commitment to the government’s views on DEIA. Loyalty oaths
13
      were unlawful then, Keyishian, 385 U.S. at 603, and remain unlawful now. Cole v. Richardson, 405
14
      U.S. 676, 680 (1972) (listing cases declaring that governments may not “condition employment on
15
      taking oaths that impinge on rights guaranteed by the First and Fourteenth Amendments”).
16
             The District Defendants claim these provisions do “not require Plaintiffs to adopt any
17
      particular approach to these DEIA principles.” Dist. Mot. at 21. But the requirements to “promote”
18
      or “advocate for” or “advance” plainly require that Plaintiffs advance a favorable position towards
19
      topics like “anti-racism” or “intersectionality.” After all, a lecture explaining the flaws with “anti-
20
      racism” can hardly be said to “promote” or “advocate for” or “advance” anti-racism. The DEIA
21
      Rules and Faculty Contract therefore improperly force Plaintiffs “to take the government’s side on
22
      a particular issue.” All. for Open Soc’y Int’l, Inc. v. USAID, 651 F.3d 218, 235 (2d Cir. 2011). And
23
      “[f]orcing free and independent individuals to endorse ideas they find objectionable is always
24
      demeaning,” and is therefore subject to strict constitutional scrutiny. Janus, 138 S. Ct. at 2464.
25
             Defendants say Plaintiffs are not prohibited from also sharing their own viewpoints. State
26
      Mot. at 17; Dist. Mot. at 18. This simply is not true. As already discussed, the DEIA Rules prohibit
27
      Plaintiffs from disagreeing with the State’s preferred viewpoint (or at least penalize them for doing
28

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 1
      so). See supra Section III.A. But even if Plaintiffs can also offer their own critiques, they are still
 2
      forced to use precious class time to “endorse ideas they find objectionable” and “betray[] their
 3
      convictions,” Janus, 138 S. Ct. at 2464. For instance, Professor Druley will be required to advance
 4
      the concept that “merit” “protects[] White Privilege under the guise of standards” even though he
 5
      believes that merit is a critical tool for overcoming racism and indispensable in the Philosophy
 6
      classroom. Verif. Compl. ¶ 103.
 7
              These limitations deprive Plaintiffs of their constitutionally protected “choice of what not
 8
      to say,” Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n of Cal., 475 U.S. 1, 16 (1986), or to “refrain
 9
      from speaking at all,” Janus, 138 S. Ct. at 2463. This “necessarily alters the content of the[ir]
10
      speech,” Evergreen Ass’n, Inc. v. City of N.Y.k, 740 F.3d 233, 244 (2d Cir.2014), and cannot be
11
      justified short of “immediate and urgent grounds,” Janus, 138 S. Ct. at 2464.
12
              The fact that the professors may offer their own views in addition to parroting the
13
      government’s views does not cure the First Amendment violation as Defendants’ claim. Dist. Mot.
14
      at 21. In Pacific Gas and Electric, the Supreme Court found that a utility company was not required
15
      to give space on its billing envelope to views that it disagreed with even though it could respond to
16
      those views, 475 U.S. at 13-15 (1986), and in NIFLA, pregnancy clinics could not be required to
17
      promote abortion even though they could also deliver a pro-life message, 138 S. Ct. at 2371-76.
18
      Plaintiffs likewise cannot be required “to take the government’s side on” DEIA even if they are
19
      then free to share their own views. This is particularly true at our public colleges, where the
20
      “danger . . . to speech from the chilling of individual thought and expression . . . is especially real.”
21
      Rosenberger, 515 U.S. at 835.
22
              The District Defendants concede faculty will be required to write a personal statement that
23
      “demonstrate[s] an understanding of . . . [DEIA] competencies and anti-racist principles.” Dist.
24
      Mot. at 22. In other word, Plaintiffs are required to endorse Defendants’ DEIA viewpoints in a
25
      personal statement each time they are evaluated. But the District Defendants claim that this “is a
26
      standard report of actions, efforts, and successes pursuant to Plaintiffs’ employment—no different
27
      from a report on research activity.” Dist. Mot. at 22. However, a report on research activity relies
28

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 1
      on viewpoint-neutral and pedagogically objective criteria. A professor who publishes an article in
 2
      a prestigious journal is given credit whether that article expresses a viewpoint for or against
 3
      affirmative action (or any other topic). By contrast, the DEIA statement requires professors to
 4
      endorse the viewpoints that the State and District have imposed or risk an adverse evaluation.
 5
             The State Defendants point to the Supreme Court’s decision in Rumsfeld v. Forum for
 6
      Academic and Institutional Rights, Inc. (FAIR), 547 U.S. 47, 63 (2006), to argue that there is no
 7
      compelled speech here. But the facts in FAIR are not analogous. In FAIR, law schools challenged
 8
      a requirement that military recruiters were to be allowed access to campus as a condition to receive
 9
      federal funding. The Supreme Court emphasized that the requirement “neither limits what law
10
      schools may say nor requires them to say anything.” Id. at 60. A regulation akin to the one in FAIR
11
      would be a requirement that Plaintiffs allow State Center administrators to come into their
12
      classroom at the start of the semester to promote DEIA programs. The DEIA Rules and Faculty
13
      Contract go far beyond that, requiring Plaintiffs to actively “incorporate the Board’s views into
14
      their own speech,” State Mot. at 17, and to serve as the mouthpieces for the State’s approved DEIA
15
      viewpoint. See 303 Creative LLC v. Elenis, 600 U.S. 570, 596 (2023) (rejecting the application of
16
      FAIR when a law would “force an individual to ‘utter what is not in [her] mind’ about a question
17
      of political and religious significance.” (quoting Barnette, 319 U.S. at 634)). Defendants are entitled
18
      to express their commitment to DEIA principles in their own statements, but they may not compel
19
      college faculty to endorse the government’s preferred DEIA viewpoints.
20
      Finally, as they did with regard to viewpoint discrimination, Defendants wrongly argue that
21
      Pickering is the proper standard for evaluating Plaintiffs’ compelled speech claims. But for all of
22
      the same reasons discussed above regarding viewpoint discrimination, Plaintiffs’ claims survive
23
      regardless of which standard of review applies. See Supra Section III.A.iii.
24
             C.      The DEIA Rules and Faculty Contract Impose a Prior Restraint.
25
             Plaintiffs’ prior restraint claims should also proceed because the DEIA Rules and Faculty
26
      Contract preemptively restrict speech for all professors at State Center. In United States v. National
27
      Treasury Employees Union (NTEU), the Supreme Court distinguished between “a post hoc analysis
28

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 1
      of one employee’s speech and its impact on that employee’s public responsibilities . . . [and an
 2
      analysis of a] wholesale deterrent to a broad category of expression by a massive number of
 3
      potential speakers.” 513 U.S. 454, 467 (1995); accord Janus, 138 S. Ct. at 2472 (noting that the
 4
      NTEU test applies to policies that broadly impact employee speech). The latter constitutes a “prior
 5
      restraint.” Barone v. City of Springfield, Or., 902 F.3d 1091, 1105 (9th Cir. 2018). A prior restraint
 6
      on employee speech “chills potential speech before it happens” and therefore the government “must
 7
      shoulder a heavier burden” to justify its existence. Moonin v. Tice, 868 F.3d 853, 861 (9th Cir.
 8
      2017).
 9
               Because the DEIA Rules and Faculty Contract do not concern “an isolated disciplinary
10
      action,” and instead impose “a wholesale deterrent to a broad category of expression by a massive
11
      number of potential speakers,” they are a prior restraint on speech under NTEU. 513 U.S. at 467;
12
      See also Progressive Democrats for Soc. Justice v. Bonta, 73 F.4th 1118, 1123 (9th Cir. 2023)
13
      (applying NTEU to invalidate a ban on solicitation by employees in the workplace). And while the
14
      District Defendants try to muddy the water by citing irrelevant prior restraint cases not involving
15
      public employees, they ultimately recognize that NTEU applies. Dist. Mot. at 23–24.
16
               Under NTEU, an employer must “show that the interests of both potential audiences and a
17
      vast group of present and future employees in a broad range of present and future expression are
18
      outweighed by that expression’s ‘necessary impact on the actual operation’ of the Government.”
19
      513 U.S. at 455. To meet this “heavy” burden, the government “must demonstrate that the recited
20
      harms are real, not merely conjectural, and that the regulation will in fact alleviate these harms in
21
      a direct and material way.” Id. at 475 (internal quotation marks omitted). Given this higher factual
22
      burden, Plaintiffs’ prior restraint claim cannot be resolved on the pleadings. See Hernandez v. City
23
      of Phoenix, 43 F.4th 966, 981 (9th Cir. 2022) (finding that the district court erred in dismissing two
24
      NTEU claims at the pleading stage because “in the absence of a developed factual record, we cannot
25
      conclude that plaintiffs’ facial overbreadth challenge to those clauses fails as a matter of law”);
26
      Moonin, 868 F.3d at 868 (emphasizing that an employer had failed to “show[] any past disruption
27
      sufficient to justify the expansive policy”). The District Defendants’ conclusory assertion that they
28

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 1
      have a “substantial and legitimate interest in advancing its educational mission” cannot defeat
 2
      Plaintiffs well-pled prior restraint claim. Dist. Mot. at 24.
 3
             D.      The DEIA Rules and Faculty Contract Are Overbroad.
 4
             The DEIA Rules and the Faculty Contract are also substantially overbroad. Verif. Compl.
 5
      ¶¶ 268–93. A policy is overbroad when “a substantial number of its applications are
 6
      unconstitutional, judged in relation to the [rule’s] plainly legitimate sweep.” United States v.
 7
      Stevens, 559 U.S. 460, 473 (2010). The DEIA Rules and Faculty Contract reach a wide swath of
 8
      constitutionally protected speech and lack any “legitimate sweep” with regard to limiting the
 9
      viewpoints expressed in the classroom. Id. A wide range of protected classroom expression could
10
      run contrary to the DEIA Rules and Faculty Contract, such as speech advocating for a colorblind
11
      society, or discussing an article critiquing the concepts of “racial equity” or “intersectionality.” As
12
      a result, Plaintiffs are refraining from assigning content like Martin Luther King, Jr.’s Letter from
13
      Birmingham Jail and the works of Faulkner and O’Connor or discussing topics like color-blind
14
      approaches to combat racism. Verif. Compl. ¶¶ 100–09, 117–20, 127–33, 141–44, 164–65.
15
             Defendants do not directly address Plaintiffs’ overbreadth argument. Instead, Defendants
16
      regurgitate their argument that the DEIA Rules are just an “exercise of the Board’s academic
17
      freedom to promote its ideals of diversity, equity, inclusion, and accessibility throughout the
18
      California Community Colleges.” Dist. Mot. at 20. But this argument is untenable, especially at the
19
      motion-to-dismiss stage, where Plaintiffs’ allegations regarding the chilling effect must be accepted
20
      as true. Hernandez, 43 F.4th at 981 (refusing to dismiss a facial overbreadth challenge at the motion
21
      to dismiss stage “in the absence of a developed factual record”); see also Rhodes v. Robinson, 408
22
      F.3d 559, 562 (9th Cir. 2005) (a plaintiff’s “allegations that his First Amendment rights were
23
      chilled, though not necessarily silenced, is enough to perfect his claim”).
24
             E.      The DEIA Rules and Faculty Contract Are Vague.
25
             The DEIA Rules and Faculty Contract are also unconstitutionally vague because they
26
      mandate professors comply with indecipherable and unclear requirements. Government regulations
27
      violate the First and Fourteenth Amendments when they “fail[] to provide a person of ordinary
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      intelligence fair notice of what is prohibited,” and “[are] so standardless that [they] authorize[] or
 2
      encourage[] seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304
 3
      (2008); Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). Vagueness is especially
 4
      problematic in laws regulating speech due to the “obvious” potential for a “chilling effect on free
 5
      speech.” Reno v. ACLU, 521 U.S. 844, 871–72 (1997). Speech restrictive laws must be drafted with
 6
      “narrow specificity.” NAACP v. Button, 371 U.S. 415, 433 (1963).
 7
             The DEIA Rules and Faculty Contract fail both tests. They fail to provide sufficient notice
 8
      to community college professors about what they are and are not allowed to teach. Ideologically
 9
      loaded terms with abstract requirements, like using “a race-conscious and intersectional lens” and
10
      staying “anti-racist,” do not give professors adequate guidance to know whether their instruction
11
      will satisfy the DEIA Rules’ requirements. Indeed, many of the key terms like “colonized mindset,”
12
      “individualist perspective,” and “curricular trauma,” are left to the imagination of the reader. That
13
      is well short of the specificity and precision the Constitution requires.
14
              Plaintiffs must “employ teaching, learning, and professional practices that reflect DEIA
15
      and anti-racist principles.” Cal. Code Regs. Tit. 5 § 53605(a). But these terms either lack definitions
16
      or fail to provide any helpful guidance. For instance, one of the key terms—“equity”—is not
17
      defined at all, while “anti-racism” and “antiracist” are defined unhelpfully as “policies and actions
18
      that lead to racial equity.” Id. § 52510(d). How can a professor know which practices lead to “racial
19
      equity”? And what happens when a professor and an administrator at State Center disagree whether
20
      a policy leads to racial equity? The Faculty Contract requires faculty to “reflect knowledge of the
21
      intersectionality of social identities,” but neither the Faculty Contract nor the DEIA Rules define
22
      “intersectionality.” Verif. Compl. Ex. F.
23
             The DEIA Rules also warn Plaintiffs not to “weaponize academic freedom and academic
24
      integrity” to “inflict curricular trauma on our students.” Verif. Compl. Ex. D. The Glossary does
25
      not define “curricular trauma.” Has a professor inflicted “curricular trauma” if a student is upset by
26
      a movie? Indeed, many books, articles or films that challenge a reader’s ingrained perspective or
27
      worldview—such as the video about the war on drugs that Professor Palsgaard wishes to show, or
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 1
      the New York Times op-ed that Professor Stannard has his students read and discuss—could be
 2
      accused of inflicting “curricular trauma.” Verif. Compl. ¶¶ 120, 131.
 3
               The “long list of relevant definitions” that the Defendants argue saves the DEIA Rules from
 4
      a vagueness challenge does more harm than good. Dist. Mot. at 26. The “definitions” are opaque,
 5
      circular, and provide little clarity to professors as to what they are expected to teach or avoid
 6
      teaching. For instance, the Glossary defines “equity minded” as “being (1) race conscious,
 7
      (2) institutionally focused, (3) evidence based, (4) systematically aware, and (5) action oriented.”
 8
      Defining a vague term with other vague terms like “systematically aware” or “evidence based”
 9
      makes it more vague, not less. The Model Principles and Glossary are full of DEIA jargon that
10
      professors will find impenetrable, such as “an individualist perspective” or a “collectivism
11
      perspective.” Verif. Compl. Ex. D. These vague terms provide administrators with even more
12
      leeway to penalize professors who go against the administrator’s preferred DEIA position.
13
               The District Defendants’ reliance on Edge v. City of Everett, 929 F.3d 657, 667 (9th Cir.
14
      2019) is misplaced. Edge concerned a lewdness ordinance banning clothing that did not fully cover
15
      the body. The Ninth Circuit found that established anatomical terms like “anal cleft” were “clear
16
      and ascertainable” to the ordinary person, and therefore would not lead to “unchecked law
17
      enforcement discretion.” Id. at 666. But the terms used by the DEIA Rules are far from “clear and
18
      ascertainable.” They are some of the most contested concepts and topics in America today, like
19
      “equity,” “anti-racism,” and “intersectionality.” Verif. Compl. ¶ 6 (alleging that “[f]rom the board
20
      room to the Capitol, politicians, scholars, and everyday Americans are debating the best way to
21
      overcome racial inequity in a manner consistent with our nation’s ideal of equality under the law.”).
22
      These concepts are also highly subjective as shown by the fact that Plaintiffs hold a very different
23
      understanding of these concepts than the government. Verif. Compl. ¶¶ 24–30, 96–173.
24
               The DEIA Rules and Faculty Contract deprive professors of “a reasonable opportunity to
25
      understand what conduct [the provisions] prohibit[].” Hill v. Colorado, 530 U.S. 703, 732 (2000).13
26
27
          13
            The District Defendants claim that the vagueness concerns are mitigated by some procedural
28    protections in the Faculty Contract like being able to select their faculty peer reviewer or bring their

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 1
      They are not “readily susceptible” to a narrowing construction that would allow the DEIA Rules
 2
      and Faculty Contract to pass Constitutional muster, because doing so would require “rewriting, not
 3
      just reinterpretation.” Stevens, 559 U.S. at 481.
 4
                                                  CONCLUSION
 5
              For the foregoing reasons, this Court should deny Defendants’ motions to dismiss in full.
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 8
       Respectfully submitted,
 9
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       Counsel for Plaintiffs
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      complaints to the college president. Dist. Mot. at 26 n.8. But these procedures do not help professors know
28    what they can teach or not.


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 1                                     CERTIFICATE OF SERVICE
 2           I, Daniel M. Ortner, hereby certify that on January 19, 2024, I submitted the foregoing to
 3
      the Clerk of the Court via the District Court’s CM/ECF system. Notice of this filing will be sent
 4
      by operation of the Court’s electronic filing system to counsel for all Defendants.
 5
 6                                                 /s/ Daniel M. Ortner
 7                                                 DANIEL M. ORTNER

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28    CERTIFICATE OF SERVICE - PLAINTIFFS’ CONSOLIDATED OPPOSITION TO
      DEFENDNATS’ MOTION TO DISMISS
